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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

 

SHREVEPORT DIVISION
ANIL VELUVOLU, ET AL. CIVIL ACTION NO.: 18-CV-00197
VERSUS JUDGE ELIZABETH FOOTE
NISSAN NORTH AMERICA INC., MAGISTRATE JUDGE HORNSBY
ET AL.

MEMORANDUM RULING

 

In its recent ruling on Defendant American Honda Motor Co., Inc’s (“AHM”) motion for
summary judgment, the Court ordered both parties to submit additional briefing regarding Anil
and Jennifer Veluvolu’s (“Plaintiffs”) negligent repair claim against AHM. Record Document 29,
p. 20. Plaintiffs were instructed to submit a brief outlining:

(1) on what legal basis they seek to hold AHM liable for repairs made by Orr;

(2) what evidence supports their claim that the repairs were performed so

“negligently, carelessly, and recklessly as to substantially impair the Acura’s

use, value, and safety;” and

(3) what evidence establishes their damages for negligent repair as separate from
the damages they seek pursuant to their redhibition claim.

Id. Defendants were instructed to file a reply in response to Plaintiffs’ brief. Id.

Plaintiffs have submitted a brief on this issue in compliance with the Court’s order. Record
Document 33. The brief states: “Plaintiffs concede that negligent repair as a cause of action outside
of redhibition or the LPLA is a novel concept and find no support other than that argued for in the
original memorandum.” Jd. AHM’s reply asks the Court to dismiss the negligent repair claim.

Record Document 37, p. 1.
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In its prior ruling, the Court stated that it was inclined to dismiss Plaintiffs’ negligent repair
claims based on a lack of factual support and evidence and because Plaintiffs did not establish how
AHM could be held liable for repairs performed by Orr. Record Document 29, p. 20. Because
Plaintiffs did not provide any of the additional information requested by the Court, their negligent
repair claim cannot survive summary judgment.

AHM’s motion for summary judgment [Record Document 17] is GRANTED as to

Plaintiffs’ negligent repair claim. The negligent repair claim is hereby DISMISSED WITH

PREJUDICE.
THUS DONE AND SIGNED in Shreveport, Louisiana on this ait of June, 2019.

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ELIZABETH E FOOTE
UNITED STA DISTRICT JUDGE
